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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                                CASE NO. 23-14044-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  SAMUEL QUILO-PATINO,

         Defendant.
                                                       /

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court upon the Report and Recommendation entered by

  Magistrate Shaniek M. Maynard following Change of Plea Hearing [ECF No. 18]. On December

  8, 2023, Magistrate Judge Maynard held a Change of Plea hearing [ECF No. 15] during which

  Defendant pled guilty to the sole Count of the Indictment [ECF No. 1] pursuant to a written factual

  proffer [ECF No. 16]. Magistrate Judge Maynard thereafter issued a Report recommending that

  the Court accept Defendant’s guilty plea to the sole Count of the Indictment, that the Court find

  Defendant to have freely and voluntarily entered his guilty plea, and that the Court adjudicate him

  guilty of the offense [ECF No. 1]. Neither party has filed objections to the Report, and the time to

  do so has expired.

         The Court has conducted a review of the record and finds no error in the Report. Therefore,

  it is ORDERED AND ADJUDGED as follows:

         1. The Report and Recommendation [ECF No. 18] is AFFIRMED AND ADOPTED.

         2. The guilty plea entered into by Defendant Samuel Quilo-Patino as to the sole Count

             of the Indictment is ACCEPTED.
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          3. Defendant Samuel Quilo-Patino is adjudicated guilty of the sole Count of the

             Indictment, illegal reentry after removal or deportation, in violation of 8 U.S.C.

             § 1326(a) [ECF No. 1].

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 2nd day of January

  2024.




                                                    _______________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE




   cc:     counsel of record




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